            Case 2:23-cv-08079-JMW Document 6 Filed 11/01/23 Page 1 of 2 PageID #: 48

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District of New York

 Dalit Cohen, individually herself and on behalf of all         )
               others similarly situated                        )
                                                                )
                                                                )
                            Plaintijf(s)
                                                                )
                                                                )
                                 V.                                     Civil Action No.   2:23-cv-08079-JMW
                                                                )
  Saraya USA, Inc., a Utah Corporation and DOES 1
                                                                )
                through 50 inclusive
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                 SUMMONS IN A CIVIL ACTION
  .          ,                   Saraya USA, Inc.
To. (Defendants name and address)553 East Timpanogos Cir. Bldg. G
                                Suite 23
                                Orem, Utah 84097




          A lawsuit has been filed against you.

        Within 21 days after se1vice of this smnmons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States desc1ibed in Eecl. R. Civ.
P. 1 (a)(2) or (3) - you must se1ve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be se1ved on the plaintiff or plaintiffs attorney,
whose name and address are:
                                          Shalini Dogra, Esq.
                                          Dogra Law Group PC
                                          2219 Main Street, Unit 239
                                          Santa Monica, CA 90405
                                          Phone: (747) 234-6673
                                          Facsimile: (310) 868-0170
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the comt.

                                                                           BRENNA B. MAHONEY
                                                                           CLERK OF COURT


Date:       11/1/2023
                                                                                     Signature ofClerk or Deputy Clerk
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 Civil Action No.

                                                            PROOF OF SERVICE
                       (This sectio11 should not beJi.led with tile cour t unless required by F ed. R. Civ. P. 4 (1))

           This summons for (name ofindividual and title, if any)
 was received by me on (date)

           D I personally served the summons on the individual at (place)
                                                                                 on (date}                            ; or

           D I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date}                                , and mailed a copy to the individual's last known address; or
                        --------
           D I served the summons on (name ofindividual)                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date}                            ; or

           D I returned the summons unexecuted because                                                                              ; or

           D Other (specify):



           My fees are$                             for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjmy that this information is true.


 Date:
                                                                                             Server's signature


                                                                                         Printed name and title




                                                                                             Server's address

 Additional information regarding attempted service, etc:
